■ Mecl<lenburg County Clerk of Superior Court


                                                                                          24CV013299-590                  1
         STATE OF NORTH CAROLINA                                     IN THE GENERAL COURT OF JUSTICE
                                                                     SUPERIOR COURT DIVISION
                                                                     CASE NO.: 24-CVS-
         MECKLENBURG COUNTY


               REFORMED THEOLOGICAL
               SEMINARY RTS,

                         Plaintiff,

               vs.                                                           PLAINTIFFS COMPLAINT

               HARTFORD FIRE INSURANCE
               COMPANY,

                         Defendant.



                                                            COMPLAINT

                 Plaintiff, REFORMED THEOLOGICAL SEMINARY RTS by and through undersigned
                 counsel, hereby sues the Defendant. FIARTFORD FIRE INSURANCE COMPANY, and
                 slates as follows:

          1.     This is an action for breach of contract wherein PlainlilT seeks damages for more than $25,000.00.

          2.     Plaintiffs, REFORMED TMEOLOGICAL SEMINARY RTS. is sui juris and is a resident of

                 Mecklenburg County, North Carolina.

          3.     Defendant is, upon information and belief, a corporation duly authorized to conduct business in the

                 State of North Carolina, and which docs, in fact, issue policies of insurance in Mecklenburg County,

                 North Carolina.

         4.      Defendant issued a homeowner’s insurance policy to Plaintiff, bearing 43UUNDF2645, which

                 insured the property located at 2101 Carmel Rd Charlotte, NC 28226 for all relevant times herein. A

                 copy of the policy will be obtained in discovery.

         5.      On or about June 16, 2022, while the subject policy was in full force and effect, PlaintilT’s property

                 suffered damage due to wind and hail. These damages arc covered under the subject policy.




                     Electronically Filed Date: 3/19/2024 12:48 PM Mecklenburg County Clerk of Superior Court
               Case 3:24-cv-00490-FDW-SCR Document 1-2 Filed 05/21/24 Page 1 of 3
                                        FIRST CLAIM FOR RELIEF
                                            (Breach of Contract)

6.     Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 5 as though fully

       set forth herein.

7.     Plaintiff and Defendant did enter into a policy of insurance, identified above as the policy, the terms

       and conditions of which are incorporated herein by reference.

8.     Such Policy provides coverage to Insured for a loss from wind and hail

9.     As such. Plaintiff filed a claim with Defendant and said claim was assigned Claim Y3NF28858.

10.    Plaintiff complied with and performed all conditions precedent under the subject policy for the

       recovery of benefits and/or said conditions were waived by Defendant.

11.    However, Defendant, by word, conduct, and deed, has refused to adequately pay for the benefits due

       for the covered loss.

12.    Defendant, therefore, has breached the terms of the subject contract of insurance by failing to pay the

       benefits which became due and owing to Plaintiff as a result of the covered loss.

13.    As a result of Defendant’s breach, Plainti ff has suffered damages in the amount of insurance benefits

       due and owing to him under the subject policy.

14.    Defendant's conduct has caused Plaintiff to retain the services of the undersigned attorney to

       represent him in this action. WHEREFORE, Plaintiff, REFORMED THEOLOGICAL

       SEMINARY RTS, demands judgment against Defendant, HARTFORD FIRE INSURANCE

       COMPANY, for (i) damages and interest thereon, (ii) and such other and further relief as this court

       deems just and proper.

                                       DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury of all issues so triable as of right by jury.




      Case 3:24-cv-00490-FDW-SCR Document 1-2 Filed 05/21/24 Page 2 of 3
Date;   arch 19, 2024



                                Matheny Law, PLLC




                                        J. David Mathenv II
                                        984-269-3829
                                        NC Bar ^49387
                                        8936 Northpointe Executive Park Dr
                                        Suite 240-260
                                        Huntersville, NC 28078




   Case 3:24-cv-00490-FDW-SCR Document 1-2 Filed 05/21/24 Page 3 of 3
